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IN THE UNITED STATES DISTRICT COURT KE
FOR THE DISTRICT OF Sout DAKCTA

 

Moise Mamouzette, MD ) CaseNo.. @ (Vo je dof &
)
Plaintiff, ) PRO SE CIVIL COMPLAINT FOR
) DAMAGES
vs. )
) FORINTENTIONAL ..
Rory Sumners )
) INFLICTION OF EMOTIONAL DISTRESS
Defendant )
)
)
)
)
)
COMPLAINT

Plaintiff, Moise Mamouzette, pro se for his complaint in this action, alleges as follows:

JURISDICTION
1. This is an action for injunctive relief for Intentional Infliction of Emotional Distress
against Rory Sumners This court has jurisdiction under 28 USCA § 1332 (a) (1). The
matter in controversy exceeds the sum or value of $75,000, exclusive of interest and

costs, and is between citizens of different States.

VENUE

2. The venue is correct pursuant to 28 USC § 1391 (e) @).

 

 

 
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PARTIES

. Defendant Rory Sumners, is, and at ali times herein mentioned was, a resident of the City

of Gordon, County of Sheridan, State of Nebraska. Prarniet is resident os NY.

. Asamember of the medical staff of the Indian Health Service Hospital at Pine Ridge

defendant pledged and is obligated to follow the ethical code of the American Medical
Association, The Medical Staff Bylaws and Hospital Rules and Regulations.

. Defendant materially violated multiple Bylaws and Rules and Regulations.

. At ail times plaintiff was in full compliance with the ethical code of the American

Medical Association, The Medical Staff Bylaws and Hospital Rules and Regulations.

. Defendant knew that plaintiff was supporting an adopted 5 year old daughter and her

mother in New York. Defendant knew that threats to plaintiff's financial stability would

cause emotional distress.

. Nevertheless, defendant Sumners engaged in repeated, progressively more severe public

emails and directives, which threatened plaintiff's ability to continue earning a livelihood
and publicly and falsely cast plaintiff in a poor light. On or about January 9, 2007

defendant Sumners emailed a directive removing Plaintiff from his position as supervisor,

. On March 15, 2007 again defendant Sumners publicly emailed a directive removing

plaintiff from the on-call schedule. Defendant Sumners, who is white told plaintiff, who
is African-American that generations of defendant’s family were, “card carrying
members of the Ku Klux Klan.” Defendant Sumners subsequently repeatedly threatened

plaintiff with termination, without ever articulating any reason for such action.

10. Defendant Sumner’s conduct was intentional and malicious and done for the purpose of

causing Plaintiff to suffer humiliation, mental anguish, and emotional and physical

distress.

11. Defendant Sumners actions are ongoing.

 
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12. As a proximate result of defendant's publicly and falsely casting plaintiff in a poor light,
plaintiff developed hypertension, restlessness, anxiety and nightmares.

13. As a further proximate result of defendant’s publicly and falsely casting plaintiff in a
poor light, and the consequences proximately caused by it, as hereinabove alleged,
plaintiff suffered severe humiliation, mental anguish, and emotional and physical distress,
and has been injured in mind and body as follows: Hypertension, Insomnia, Nightmares,
Abdominal pain, Xerostomia, diminished productivity, all to damage in the sum of
$200,000.00.

14. That as a result of defendant’s actions plaintiff was forced to seek judicial intervention
and has incurred costs for which defendant is liable.

15. WHEREFORE, plaintiff prays judgment against defendant as follows:

a. For general damages for severe emotional distress and mental suffering in the sum
of $200,000.00;
b. For medical and related expenses in the sum of $10,000.00;
c. For lost wages in the sum of $1,000,000.00;
d. For costs of suit herein incurred in the sum of $1,000.00; and
e. For such other and further relief as the court may deem proper.
\leoe Trial by jAcy ig deman ded,
Dated this 6" day of April, 2007
Mi, Jes.
ISE MAMOUZETPE,
D, PRO SE

 

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VERIFICATION
I, Doctor Moise Mamouzette, am a Plaintiff in the above-entitled action. I have read the
foregoing complaint and know the contents thereof. The same is true of my own knowledge,
except as to those matters which are therein alleged on information and belief, and as to those
matters, I believe it to be true.

I declare under penalty of perjury that the foregoing is true and correct and that this declaration
was executed at SjOUK Fails ; ¢ 6 ath Dakota

 

 
